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15
                                       UNITED STATES DISTRICT COURT
16
                                       EASTERN DISTRICT OF CALIFORNIA
17
                                              FRESNO DIVISION
18
      UNITED FARM WORKERS, et al.,                         Case No. 1:25-cv-00246-JLT-BAM
19
                         Plaintiffs,                       PLAINTIFFS’ NOTICE OF MOTION
20                                                         AND MOTION FOR PRELIMINARY
                v.                                         INJUNCTION
21
      KRISTI NOEM, IN HER OFFICIAL                         Date:        April 11, 2025
22    CAPACITY AS SECRETARY OF THE                         Time:        9:00 a.m.
      DEPARTMENT OF HOMELAND                               Dept.:       Courtroom 4, 7th Floor
23    SECURITY; et al.,                                    Judge:       Hon. Jennifer L. Thurston

24                       Defendants.                       Date Filed: February 26, 2025

25                                                         Trial Date: None set

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                     PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PRELIMINARY INJUNCTION
                                           Case No. 1:25-cv-00246-JLT-BAM
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 1                                     NOTICE OF MOTION AND MOTION

 2              TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

 3              PLEASE TAKE NOTICE that on April 11, 2025, at 9:00 a.m., or as soon as this matter

 4    may be heard, in the Courtroom of the Honorable Jennifer L. Thurston at Robert E. Coyle United

 5    States Courthouse, 2500 Tulare Street, Fresno, California 93721, Plaintiffs United Farm Workers,

 6    Oscar Morales Cisneros, Wilder Munguia Esquivel, and Yolanda Aguilera Martinez (collectively,

 7    “Plaintiffs”) will, and hereby do, respectfully move this Court for entry of an order preliminarily

 8    enjoining Defendants from continuing their practices of (1) detentive stops without regard to

 9    reasonable suspicion that the person stopped is in the country unlawfully, and (2) warrantless arrests

10    without regard to probable cause that the person arrested is likely to escape before a warrant can be

11    obtained.

12              Plaintiffs seek an injunction that, while this litigation remains pending:

13       •      Border Patrol is enjoined from conducting detentive stops in this district unless there is

14              reasonable suspicion that the person stopped is a noncitizen present within the United States

15              in violation of U.S. immigration law, as required by the Fourth Amendment of the United

16              States Constitution.

17       •      Border Patrol is enjoined from effecting warrantless arrests in this district unless there is

18              probable cause that the noncitizen being arrested is likely to escape before a warrant can be

19              obtained, as required by 8 U.S.C. § 1357(a)(2).

20       •      Any Border Patrol agent who conducts a detentive stop in this District must, as soon as

21              practicable, document the facts and circumstances surrounding the stop in narrative form.

22              This documentation shall include the specific, particularized facts that supported the

23              agent’s reasonable suspicion that: (i) for vehicle stops, the vehicle contained a noncitizen

24              present within the United States in violation of U.S. immigration law; and (ii) for stops on

25              foot, the person stopped was a noncitizen within the United States in violation of U.S.

26              immigration law. The documentation shall also include the date and time that the agent

27              completed it.

28       •      Any Border Patrol agent who conducts a warrantless arrest in this District must comply

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 1              with all requirements set forth in DHS’s “Broadcast Statement of Policy” on compliance

 2              with 8 U.S.C. § 1357(a)(2), including but not limited to the requirement that as soon as

 3              practicable after an arrest, agents document in writing “the facts and circumstances

 4              surrounding the warrantless arrest” and the “specific, particularized facts supporting the

 5              conclusion that the [individual] was likely to escape before a warrant could be obtained.”

 6       •      Every 60 days until this litigation is terminated or the Court rules otherwise, Border Patrol

 7              shall release to Plaintiffs’ counsel the above-described documentation describing Border

 8              Patrol’s detentive stops and warrantless arrests within this District, or if requested by

 9              Plaintiffs’ counsel concerning specific individual detentive stops or warrantless arrests, no

10              later than seven days after the request.

11       •      Within 60 days of this order, Defendants will submit to the Court and Plaintiffs’ counsel a

12              directive setting forth guidance to Border Patrol agents concerning how they should

13              determine whether “reasonable suspicion” exists when conducting detentive stops,

14              including vehicle stops, in this District. This guidance will include, among other things,

15              that refusal to answer questions does not, without more, constitute a basis for reasonable

16              suspicion to justify a detentive stop.

17       •      Within 90 days of this order, Defendants will submit to the Court and Plaintiffs’ counsel

18              documentation showing that they have trained Border Patrol agents who have performed

19              or will perform Border Patrol operations in this District on the requirements articulated in

20              the bullets above.

21              This motion is brought pursuant to Federal Rule of Civil Procedure 65(a) and Local Rule

22    231, and is based upon this Notice of Motion; the accompanying Memorandum of Points and

23    Authorities; the supporting declarations of Elizabeth Strater, Oscar Morales Cisneros, Wilder

24    Munguia Esquivel, Yolanda Aguilera Martinez, Juan Vargas Mendez, Maria Hernandez Espinoza,

25    Ernesto Campos Gutierrez, Luis Perez Cruz, Jesus Ramirez, and Reaghan Braun, with the exhibits

26    attached thereto; the Proposed Order; the pleadings and papers on file in the above-captioned

27    matter; any subsequent briefing; and any evidence or oral argument that may be requested by the

28    Court.

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                  PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PRELIMINARY INJUNCTION
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 1              In accord with Local Rule 231(d)(3), Plaintiffs hereby inform the Court that they

 2    respectfully request the opportunity to present oral argument at a hearing on this Motion.

 3    Plaintiffs anticipate that one hour will be required for oral argument at this hearing. Plaintiffs do

 4    not intend to present live testimony at a hearing or believe such testimony is necessary for the

 5    resolution of this Motion, but they are prepared to provide any testimonial evidence deemed

 6    helpful as ordered by the Court.

 7              Pursuant to this Court’s Standing Order, counsel for Plaintiffs and Defendants met and

 8    conferred on March 6, 2025, in advance of filing this motion. During the meet and confer,

 9    Plaintiffs’ counsel informed Defendants’ counsel that they would be moving for a preliminary

10    injunction and to certify a provisional class, and the bases for those motions. Plaintiffs’ counsel

11    offered to answer any questions Defendants had concerning the motion, and after the parties

12    discussed the motions and their bases, they agreed they would be unable to resolve the dispute

13    before the filing of the motion. Plaintiffs thus certify that meet and confer efforts have been

14    exhausted in advance of filing the motion. Plaintiffs respectfully now move for a preliminary

15    injunction and provisional class certification.

16

17    Dated: March 7, 2025                                     AMERICAN CIVIL LIBERTIES UNION
                                                               FOUNDATION OF NORTHERN
18                                                             CALIFORNIA
19
20                                                      By:    /s/ Bree Bernwanger
                                                               BREE BERNWANGER
21                                                             MICHELLE (MINJU) Y. CHO
                                                               LAUREN DAVIS
22                                                             SHILPI AGARWAL

23

24    Dated: March 7, 2025                              By:    AMERICAN CIVIL LIBERTIES UNION
                                                               FOUNDATION OF SOUTHERN
25                                                             CALIFORNIA

26                                                             /s/ Mayra Joachin (as authorized March 7,
                                                               2025)
27                                                             MAYRA JOACHIN
                                                               EVA BITRAN
28                                                             OLIVER MA

                                                        3
                  PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PRELIMINARY INJUNCTION
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 2    Dated: March 7, 2025                      By:    AMERICAN CIVIL LIBERTIES UNION
                                                       FOUNDATION OF SAN DIEGO &
 3                                                     IMPERIAL COUNTIES

 4                                                     /s/ Brisa Velazquez Oatis (as authorized
                                                       March 7, 2025)
 5                                                     BRISA VELAZQUEZ OATIS
 6                                                     Attorneys for Plaintiffs
 7
      Dated: March 7, 2025                             KEKER, VAN NEST & PETERS LLP
 8

 9
                                                       /s/ Ajay S. Krishnan (as authorized March
10                                              By:    7, 2025)
                                                       AJAY S. KRISHNAN
11                                                     FRANCO MUZZIO
                                                       ZAINAB O. RAMAHI
12                                                     JULIA GREENBERG

13                                                     Attorneys for Plaintiff Oscar Morales
                                                       Cisneros
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                PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PRELIMINARY INJUNCTION
                                      Case No. 1:25-cv-00246-JLT-BAM
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